                               UNITED STATES BANKRUPTCY COURT
                                  NORTHERN DISTRICT OF OHIO
                                       EASTERN DIVISION

In re:                                                    )    Chapter 11
                                                          )
Squirrels Research Labs LLC et al.,1                      )    Case No. 21-61491
                                                          )    (Jointly Administered)
                           Debtors.                       )
                                                          )    Judge Tiiara N.A. Patton


              NOTICE OF ZOOM HEARING REGARDING MOTION OF SQUIRRELS
                RESEARCH LABS LLC FOR ENTRY OF AN ORDER APPROVING
                   COMPROMISE AND SETTLEMENT WITH FLEUR DE LIS
              DEVELOPMENT LLC, ROCCO PIACENTINO, AND CYNTHIA HEINZ


        Squirrels Research Labs LLC has filed with the Court the Motion of Squirrels Research Labs LLC
for Entry of an Order Approving Compromise and Settlement with Fleur De Lis Development LLC, Rocco
Piacentino, and Cynthia Heinz (the “Motion”).

            Your rights may be affected. You should read these papers carefully and discuss them with
    your attorney, if you have one. If you do not have an attorney, you may wish to consult one.

           If you do not want the Court to grant the Motion, or if you want the Court to consider your
    views on the Motion at a hearing, then on or before December 12, 2022, you or your attorney must:

                    File with the Court an objection/response at:

                    U.S. Bankruptcy Court
                    Ralph Regula Federal Building and U.S. Courthouse
                    401 McKinley Avenue, SW
                    Canton, Ohio 44702

     If you mail your objection/response to the Court, you must mail it early enough so the Court will
     receive it on or before the date stated above.

                    Mail a copy of your response to:

                    Marc B. Merklin
                    Julie K. Zurn
                    Brouse McDowell LPA
                    388 S. Main Street, Suite 500
                    Akron, Ohio 44311

                    Counsel for the Debtors and Debtors-in-Possession


1
  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, are: Squirrels Research Labs LLC (9310), case no. 21-61491 and The Midwest Data Company LLC (1213),
case no. 21-61492.



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         Please take further notice that a Zoom Video Conference Hearing on the Motion will be held
 on December 20, 2022 at 11:00 a.m. prevailing Eastern Time, or as soon as thereafter as this matter
 may be heard, before the Honorable Tiiara N.A. Patton via the Zoom® Video Communications
 application (“Zoom”). To participate in and join the Zoom hearing, parties must pre-register by emailing
 Brandon Pasvanis at PattonZoom_Registration@ohnb.uscourts.gov by no later than 4:00 p.m. three
 (3) business days prior to the scheduled hearing. Your hearing registration email must include the
 following information: (a) case name and case number; (b) the hearing date and time(s); (c) the
 participant’s name, address, and telephone number; and (d) the name of party or parties whom
 participant represents.

          All participants are required to appear by Zoom and comply with Judge Tiiara N.A. Patton’s
 Procedures for Video Conference Hearings via Zoom® Video Communications, which can be found on
 the Court’s website. Persons without video conferencing capabilities must immediately contact Brandon
 Pasvanis, Judge Patton’s Courtroom Deputy, at (330) 742-0950 to make alternative arrangements.
 Absent emergency circumstances, such arrangements must be made no later than three (3) business days
 prior to the scheduled hearing date. The hearing may be continued from time to time until completed
 without further notice except as announced in open court.


 Dated: November 21, 2022                         Respectfully submitted,

                                                  /s/ Julie K. Zurn
                                                  Marc B. Merklin (0018195)
                                                  Julie K. Zurn (0066391)
                                                  BROUSE MCDOWELL, LPA
                                                  388 S. Main Street, Suite 500
                                                  Akron, Ohio 44311
                                                  Telephone: (330) 535-5711
                                                  Facsimile: (330) 253-8601
                                                  mmerklin@brouse.com
                                                  jzurn@brouse.com

                                                  Counsel for the Debtors and
                                                  Debtors-in-Possession




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